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                   IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                           Case No. 2:20-CR-00218-AB
      UNITED STATES OF AMERICA,
13                                           ORDER OF DETENTION
                     Plaintiff,
14                                                        3(a)(1)~a)(6);
                     v.                      18eU.S.0 §131
15
      CURTIS LYNN MARTINEZ,
16
17                   Defendant.
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           On September 22, 2021, Defendant Curtis Lynn Martinez made his
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     initial appearance on the petition for revocation of supervised release and
21
     warrant for arrest issued on December 28, 2020. Deputy Federal Public
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     Defender Gabriela Rivera was appointed to represent Defendant.
23
           Defendant submitted on the detention recommendation in the Pretrial
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     Services Report.
25
          Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18
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     U.S.C. § 3143(a), following Defendant's arrest for alleged violations) of the
27
     terms of Defendant's ❑probation / ~ supervised release,
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         Case 2:20-cr-00218-AB Document 15 Filed 09/22/21 Page 2 of 2 Page ID #:288



 1           The Court finds that:

 2           A.      ~     Defendant has not carried his burden of establishing by

 3     clear and convincing evidence that Defendant will appear for further

 4     proceedings as required if released [18 U.S.C. § 3142(b-c)]. This finding is

 5     based on:

 6                ~ allegations in the petition include multiple failures to report for

 7                drug testing and failure to report for substance abuse counseling as

 8                required and history of previous violations of conditions of

 9                supervised release.

f[17        B.       ~     Defendant has not carried his burden of establishing by

11          clear and convincing evidence that Defendant will not endanger the

12          safety of any other person or the community if released [18 U.S.C.

13          § 3142(b-c)]. This finding is based on:

14                ❑
                  D allegations in the petition regarding possession and

15                transportation of methamphetamine and fentanyl and committing

16                felonies while on supervised release.

17          It is therefore ORDERED that the defendant is remanded to the

18     custody of the U.S. Marshal pending further proceedings in this matter.

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20      Dated: September 23, 2021

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                                        PATRICIA DONAHUE
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                                        UNITED STATES MAGISTRATE JUDGE
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